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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


   BRENNAN M. GILMORE,                                   CASE NO.: 3:18-cv-00017-NKM-JCH

          Plaintiff

          v.

   ALEXANDER JONES, et al.,                              ANSWER      TO      AMENDED
                                                         COMPLAINT (DKT. 29) FILED BY
          Defendants                                     DEFENDANTS HOFT, CREIGHTON,
                                                         WILBURN,   HICKFORD,     AND
                                                         WORDS-N-IDEAS, LLC.


         NOW COME Defendants Hoft, Creighton, Wilburn, Hickford, and Words-N-Ideas, LLC,

  by their counsel Aaron J. Walker, Esq., in the above-styled case for the sole purpose of filing this

  Answer, without waiving any rights of jurisdiction, notice, process, joinder, or venue. In Answer

  to the First Amended Complaint (“FAC”) they state the following.

         All allegations are to be considered denied unless specifically admitted to. All responses

  represent the responses of all of the Undersigned Defendants unless stated otherwise.

         Several paragraphs are unnumbered; the Undersigned Defendants will identify such

  paragraphs by the page on which these paragraphs start (even if they end on a different page) and

  the first few words of that paragraph.

         The following terms and abbreviations are used throughout this Answer:

         “WNI” means Words-N-Ideas, LLC

         “WNI Defendants” means WNI, Wilburn and Hickford, collectively.
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          “Third party” and “third parties” refers to persons other than the Undersigned Defendants,

  including current and former co-defendants and individuals not named as defendants, unless

  otherwise stated.



                              GENERALLY APPLICABLE DENIALS

          Because of the length and complexity of the FAC, there is a danger that the Undersigned

  Defendants might, by inadvertency, appear to admit to something they in reality deny. Therefore,

  the Undersigned Defendants make the following blanket denials, which supersedes any inadvertent

  admissions in this document:

                 The Undersigned Defendants deny making any false or defamatory statement of or

  concerning the Plaintiff.

                 The Undersigned Defendants deny making any false or defamatory implication of

  or concerning the Plaintiff.

                 The Undersigned Defendants deny any legal responsibility for the wrongful

  conduct of any third party or parties.

                 The Undersigned Defendants deny inciting violence or wrongful conduct of any

  third party or parties.

          If any statement in the remainder of this Answer appears to contradict those generally

  applicable denials, these generally applicable denials control.



                   RESPONSES TO INITIAL UNNUMBERED PARAGRAPHS

          In the first unnumbered paragraph on page 1, which starts with the words “NOW

  COMES…” This is not a statement that requires a response.


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         In the second unnumbered paragraph on page 1, which starts with the words

  “Brennan Gilmore works…” The Undersigned Defendants deny the following portion of this

  paragraph to the extent that they are allegations against the Undersigned Defendants:

         Supporters of the alt-right and the “Unite the Right” rally, including the Defendants,
         created a new identity for Mr. Gilmore—the organizer and orchestrator of Fields’
         attack and a traitor to the United States. Defendants’ lies about Mr. Gilmore quickly
         mobilized their armies of followers to launch a campaign of harassment and threats
         against Mr. Gilmore that continue to this day.

  To the extent that this passage makes accusations against third parties the Undersigned Defendants

  lack knowledge or information sufficient to form a belief about the truth of the allegations

  sufficient to either admit or deny them, and they similarly lack knowledge or information sufficient

  to form a belief about the truth of the remaining allegations in this paragraph sufficient to either

  admit or deny them.

         In the first unnumbered paragraph on page 2, which starts with the words

  “Supporters of the…”        To the extent that these allegations are against the Undersigned

  Defendants, they are denied and to the extent that this paragraph makes accusations against third

  parties the Undersigned Defendants lack knowledge or information sufficient to form a belief

  about the truth of the allegations sufficient to either admit or deny them.

         In the second unnumbered paragraph on page 2, which starts with the words

  “Defendants thrive by…”          The Undersigned Defendants lack knowledge or information

  sufficient to form a belief about the truth of the following portion of this paragraph sufficient to

  either admit or deny the allegations contained therein:

         A list of Mr. Gilmore and his parents’ known addresses was posted online,
         prompting local law enforcement to patrol his parents’ home. Mr. Gilmore suffered
         from an overwhelming volume of hate mail and death threats, hacking attempts,
         and even in-person harassment on the streets of Charlottesville.




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  The remaining allegations in that paragraph are denied, to the extent that these allegations are

  against the Undersigned Defendants. To the extent that the remaining allegations are against third

  parties the Undersigned Defendants lack knowledge or information sufficient to form a belief

  about the truth of the allegations sufficient to either admit or deny them.

         In the first unnumbered paragraph on page 3, which starts with the words “To this

  day…” To the extent that these allegations are against the Undersigned Defendants, they are

  denied. To the extent that these allegations are against third parties the Undersigned Defendants

  lack knowledge or information sufficient to form a belief about the truth of the allegations

  sufficient to either admit or deny them.

         In the second unnumbered paragraph on page 3, which starts with the words “Fact-

  based journalism…” Much of the paragraph contains statements of philosophy and law to which

  no response is necessary. To the extent that the paragraph contains factual allegations against the

  Undersigned Defendants, they are denied. To the extent that it contains allegations against third

  parties the Undersigned Defendants lack knowledge or information sufficient to form a belief

  about the truth of the allegations sufficient to either admit or deny them.

         In the third unnumbered paragraph on page 3, which starts with the words “Brennan

  Gilmore told…” With respect to the claim the Plaintiff told the truth, the Undersigned Defendants

  lack knowledge or information sufficient to form a belief about the truth of that allegation

  sufficient to either admit or deny it. The remainder of the paragraph is denied.

                         RESPONSES TO NUMBERED PARAGRAPHS

         1.      The Undersigned Defendants admits that this case arises under Virginia law. The

  remainder of this paragraph is denied.

         2.      This is not a statement that requires a response.



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         3.      Denied.

         4.      Denied.

         5.      Denied.

         6.      Denied.

         7.      Denied.

         8.      Denied.

         9.      Hoft, Hickford, Creighton and WNI deny the allegations in this paragraph. Wilburn

  lacks knowledge or information sufficient to form a belief about the truth of the allegations in this

  paragraph sufficient to either admit or deny them.

         10.     Hickford and WNI deny owning or operating any online store on the Allen B. West

  website. Hickford and WNI lack knowledge or information sufficient to form a belief about the

  truth of the remaining allegations in this paragraph sufficient to either admit or deny them. The

  remaining Undersigned Defendants lack knowledge or information sufficient to form a belief

  about the truth of the allegations in this paragraph sufficient to either admit or deny them.

         11.     The Undersigned Defendants lack knowledge or information sufficient to form a

  belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

         12.     Denied.

         13.     The Undersigned Defendants lack knowledge or information sufficient to form a

  belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

         14.     The Undersigned Defendants lack knowledge or information sufficient to form a

  belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

         15.     The Undersigned Defendants lack knowledge or information sufficient to form a

  belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.



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         16.     The Undersigned Defendants lack knowledge or information sufficient to form a

  belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

         17.     The Undersigned Defendants deny that Lee Stranahan is domiciled in Texas, deny

  that this legally blind man has a Texas driver’s license, and deny that he is actively registered to

  vote in Texas. The Undersigned Defendants lack knowledge or information sufficient to form a

  belief about the truth of the remaining allegations in this paragraph sufficient to either admit or

  deny them.

         18.     The Undersigned Defendants lack knowledge or information sufficient to form a

  belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

         19.     Creighton admits the following is true: “Defendant Scott Creighton is domiciled in

  Tampa, Florida,” and “On or about February 28, 2018, YouTube deleted Creighton’s account

  American Everyman for allegedly violating YouTube’s Terms of Service.”                 He denies the

  remaining allegations in this paragraph. The remaining Undersigned Defendants lack knowledge

  or information sufficient to form a belief about the truth of the allegations in this paragraph

  sufficient to either admit or deny them.

         20.     Hoft admits he is domiciled in St. Louis, Missouri. He denies the remaining

  allegations in this paragraph.     The remaining Undersigned Defendants lack knowledge or

  information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

  to either admit or deny them.

         21.     The WNI Defendants admit that Allen West represented the Florida’s 22 nd

  congressional district in the United States House Representatives. The WNI Defendants lack

  knowledge or information sufficient to form a belief about the truth of the allegations that Mr.

  West is domiciled in Texas or related to the rest of his resume sufficient to either admit or deny



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  those allegations. The remaining allegations are denied by the WNI Defendants. Hoft, and

  Creighton lack knowledge or information sufficient to form a belief about the truth of the

  allegations in this paragraph sufficient to either admit or deny them, except that they admit Allen

  West represented the Florida’s 22nd congressional district in the United States House

  Representatives.

         22.     Wilburn admits he is domiciled in Colorado Springs, Colorado. All of the WNI

  Defendants deny the remainder of the paragraph. The remaining Undersigned Defendants lack

  knowledge or information sufficient to form a belief about the truth of the allegations in this

  paragraph sufficient to either admit or deny them.

         23.     Hickford admits she is domiciled in Deerfield Beach, Florida. Hickford and WNI

  deny that any website Hickford has ever owned has published any false and defamatory article,

  and Wilburn denies authoring such an article. For the same reason, this passage refers to an article

  that does not exist:

         Defendant Hickford, as president of Words-N-Ideas, owned the rights to the Allen
         B. West website at the time Defendant Wilburn’s article was published and was the
         person who published Defendant Wilburn’s article on the website.

  Therefore, the allegations in that passage is denied by the WNI Defendants. The remainder of this

  paragraph is denied by WNI and Hickford, while Wilburn lacks knowledge or information

  sufficient to form a belief about the truth of the remaining allegations in this paragraph sufficient

  to either admit or deny them.       The remaining Undersigned Defendants lack knowledge or

  information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

  to either admit or deny them.




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         24.     Denied by WNI and Hickford. The remaining Undersigned Defendants lack

  knowledge or information sufficient to form a belief about the truth of the allegations in this

  paragraph sufficient to either admit or deny them.

         25.     The Undersigned Defendants lack knowledge or information sufficient to form a

  belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

         26.     The Undersigned Defendants lack knowledge or information sufficient to form a

  belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

         27.     The Undersigned Defendants lack knowledge or information sufficient to form a

  belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

         28.     The Undersigned Defendants lack knowledge or information sufficient to form a

  belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

         29.     The Undersigned Defendants lack knowledge or information sufficient to form a

  belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

         30.     The Undersigned Defendants lack knowledge or information sufficient to form a

  belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

         31.     The Undersigned Defendants lack knowledge or information sufficient to form a

  belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

         32.     The Undersigned Defendants lack knowledge or information sufficient to form a

  belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

         33.     The Undersigned Defendants lack knowledge or information sufficient to form a

  belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

         34.     The Undersigned Defendants lack knowledge or information sufficient to form a

  belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.



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         35.     The Undersigned Defendants lack knowledge or information sufficient to form a

  belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

         36.     The Undersigned Defendants deny making any baseless accusation against the

  Plaintiff. The Undersigned Defendants deny the remaining allegations in this paragraph.

         37.     Creighton denies the claim that he had 1,139 followers on Twitter at the time he

  published the article, denies that his website was a national news website, and denies the following

  claim: “Defendant Creighton subsequently republished the article on at least two other websites.”

  Creighton lacks knowledge or information sufficient to form a belief about how many unique

  visitors he has each month sufficient to either admit or deny this allegation. Creighton admits to

  the remaining allegations in this paragraph.          The remaining Undersigned Defendants lack

  knowledge or information sufficient to form a belief about the truth of the allegations in this

  paragraph sufficient to either admit or deny them.

         38.     To the extent that this paragraph describes the contents of the article, the article

  speaks for itself and Creighton denies the Plaintiff’s characterization of it. To the extent that the

  Plaintiff alleges any false statements or implications by Creighton, this is denied by Creighton.

  The remaining Undersigned Defendants lack knowledge or information sufficient to form a belief

  about the truth of the allegations in this paragraph sufficient to either admit or deny them.

         39.     To the extent that this paragraph describes the contents of the article, the article

  speaks for itself and Creighton denies the Plaintiff’s characterization of it. To the extent that the

  Plaintiff alleges that there is an implied meaning in the article, this is denied by Creighton. The

  remaining Undersigned Defendants lack knowledge or information sufficient to form a belief

  about the truth of the allegations in this paragraph sufficient to either admit or deny them.




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          40.     To the extent that this paragraph describes the contents of the article, the article

   speaks for itself and Creighton denies the Plaintiff’s characterization of it. Any claim that

   Creighton did not state an opinion is denied by Creighton. The remaining Undersigned Defendants

   lack knowledge or information sufficient to form a belief about the truth of the allegations in this

   paragraph sufficient to either admit or deny them.

          41.     To the extent that this paragraph describes the contents of the article, the article

   speaks for itself and Creighton denies the Plaintiff’s characterization of it. To the extent that the

   Plaintiff alleges that there is an implied meaning in the article, this is denied by Creighton.

   Meanwhile, Creighton lack knowledge or information sufficient to form a belief about the truth of

   whether Mr. Gilmore was convenient witness sufficient to either admit or deny this allegation.

   The remaining Undersigned Defendants lack knowledge or information sufficient to form a belief

   about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          42.     To the extent that this paragraph describes the contents of the article, the article

   speaks for itself and Creighton denies the Plaintiff’s characterization of it. Creighton lacks

   knowledge or information sufficient to form a belief about the truth of the remaining factual

   allegations in this paragraph sufficient to either admit or deny them. The remaining Undersigned

   Defendants lack knowledge or information sufficient to form a belief about the truth of the factual

   allegations in this paragraph sufficient to either admit or deny them.

          43.     To the extent that this paragraph describes the contents of the article, the article

   speaks for itself and Creighton denies the Plaintiff’s characterization of it. To the extent that the

   Plaintiff alleges that there is an implied meaning in the article, this is denied by Creighton.

   Creighton denies the remaining allegations in this paragraph.            The remaining Undersigned




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   Defendants lack knowledge or information sufficient to form a belief about the truth of the

   allegations in this paragraph sufficient to either admit or deny them.

           44.     Creighton admits that he believes most people understand the clear meaning of his

   words. Creighton denies that all of his statements are intended to be interpreted as statements of

   fact. Creighton lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them. The remaining

   Undersigned Defendants lack knowledge or information sufficient to form a belief about the truth

   of the allegations in this paragraph sufficient to either admit or deny them.

           45.     The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the factual allegations in this paragraph sufficient to either admit or deny

   them.

           46.     The term “that same day” is vague and therefore Creighton lacks knowledge or

   information sufficient to form a belief about the truth of the allegation of the timing of any

   uploaded video sufficient to either admit or deny this allegation. To the extent that this paragraph

   describes the contents of a video created by Creighton, the video speaks for itself and Creighton

   denies the Plaintiff’s characterization of it. Creighton admits to the remaining allegations in this

   paragraph. The remaining Undersigned Defendants lack knowledge or information sufficient to

   form a belief about the truth of the factual allegations in this paragraph sufficient to either admit

   or deny them.

           47.     Denied by Creighton. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the factual allegations in this paragraph

   sufficient to either admit or deny them.




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          48.     To the extent that this paragraph describes the contents of the video, the video

   speaks for itself and Creighton denies the Plaintiff’s characterization of it. Creighton denies the

   remaining allegations in this paragraph. The remaining Undersigned Defendants lack knowledge

   or information sufficient to form a belief about the truth of the allegations in this paragraph

   sufficient to either admit or deny them.

          49.     To the extent that this paragraph describes the contents of the video, the video

   speaks for itself and Creighton denies the Plaintiff’s characterization of it. Creighton denies the

   remaining allegations in this paragraph. The remaining Undersigned Defendants lack knowledge

   or information sufficient to form a belief about the truth of the allegations in this paragraph

   sufficient to either admit or deny them.

          50.     To the extent that this paragraph describes the contents of a video created by

   Creighton, the video speaks for itself and Creighton denies the Plaintiff’s characterization of it.

   Creighton denies the remaining allegations in this paragraph.            The remaining Undersigned

   Defendants lack knowledge or information sufficient to form a belief about the truth of the

   allegations in this paragraph sufficient to either admit or deny them.

          51.     Denied by Creighton. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          52.     Admitted by Creighton. The remaining Undersigned Defendants lack knowledge

   or information sufficient to form a belief about the truth of the allegations in this paragraph

   sufficient to either admit or deny them.




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           53.     Admitted by Creighton. The remaining Undersigned Defendants lack knowledge

   or information sufficient to form a belief about the truth of the allegations in this paragraph

   sufficient to either admit or deny them.

           54.     Admitted by Creighton. The remaining Undersigned Defendants lack knowledge

   or information sufficient to form a belief about the truth of the allegations in this paragraph

   sufficient to either admit or deny them.

           55.     Denied by Creighton. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

           56.     Denied by Creighton. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

           57.     The term “the Charleston shooting” is vague; there are reportedly as many as 22

   different places in America named Charleston, and probably dozens, if not hundreds, of shootings

   in any one of them, and therefore, Creighton lacks knowledge or information sufficient to form a

   belief about the truth of any allegations related to a shooting in Charleston sufficient to either admit

   or deny those allegations. Creighton denies the remaining allegations in this paragraph. The

   remaining Undersigned Defendants lack knowledge or information sufficient to form a belief

   about the truth of the allegations in this paragraph sufficient to either admit or deny them.

           58.     Denied by Creighton. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.




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          59.     Creighton admits that the following statements are true: “Creighton had previously

   posted an article and accompanying video describing the counter-protesters in Charlottesville as

   ‘the Soros-backed side of this destabilization event’” and “the United States government … used

   the Sutherland Springs shooter as a ‘patsy’… to bolster support for gun control.” Creighton denies

   the remaining allegations in this paragraph, especially the allegation that George Soros is a

   philanthropist. The remaining Undersigned Defendants lack knowledge or information sufficient

   to form a belief about the truth of the allegations in this paragraph sufficient to either admit or

   deny them.

          60.     Denied by Creighton. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          61.     Creighton admits that his YouTube channel had over 2,000 subscribers. Creighton

   denies that Creighton’s video about Mr. Gilmore had been watched nearly 19,000 times. Upon

   information and belief, the view count in the screenshot, if accurate, represents views of the

   webpage, not views of the video—let alone people viewing it in its entirety. Creighton lacks

   knowledge or information sufficient to form a belief about the truth of the remaining allegations

   in this paragraph sufficient to either admit or deny them. The remaining Undersigned Defendants

   lack knowledge or information sufficient to form a belief about the truth of the allegations in this

   paragraph sufficient to either admit or deny them.

          62.     “The next morning” is a vague term, and therefore, Hoft lacks knowledge or

   information sufficient to form a belief in relationship to the timing of events sufficient to either

   admit or deny this allegation. Hoft denies the following allegation: “ on August 14, 2017, Defendant

   James Hoft published ‘Random Man at Protests Interviewed by MSNBC, NY Times Is Deep State Shill

   Linked to George Soros’ on his website Gateway Pundit.” Hoft admits to the remaining allegations in

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   this paragraph. The remaining Undersigned Defendants lack knowledge or information sufficient

   to form a belief about the truth of the allegations in this paragraph sufficient to either admit or

   deny them.

          63.     To the extent that this paragraph describes the contents of an article, the article

   speaks for itself and Hoft denies the Plaintiff’s characterization of it. Hoft denies the remaining

   allegations in this paragraph.     The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          64.     To the extent that this paragraph describes the contents of an article, the article

   speaks for itself and Hoft denies the Plaintiff’s characterization of it. Mr. Hoft denies accusing the

   Plaintiff of being an accomplice to any fraud, scam or con. Hoft lacks knowledge or information

   sufficient to form a belief about the truth of the remaining allegations in this paragraph sufficient

   to either admit or deny them.       The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          65.     Hoft denies the following statements:

          Hoft states and republishes statements from a disreputable Reddit thread that falsely
          assert that Mr. Gilmore and/or the State Department removed references to Mr.
          Gilmore’s State Department work in an attempt to cover up their alleged
          involvement in the Charlottesville rioting.

   Hoft lacks knowledge or information sufficient to form a belief about the truth of the remaining

   allegations in this paragraph sufficient to either admit or deny them. The remaining Undersigned

   Defendants lack knowledge or information sufficient to form a belief about the truth of the

   allegations in this paragraph sufficient to either admit or deny them.




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           66.     To the extent that the Plaintiff alleges a specific implied meaning in the article, this

   is denied by Hoft. Hoft lacks knowledge or information sufficient to form a belief about the truth

   of the remaining allegations in this paragraph sufficient to either admit or deny them. The

   remaining Undersigned Defendants lack knowledge or information sufficient to form a belief

   about the truth of the allegations in this paragraph sufficient to either admit or deny them.

           67.     To the extent that this paragraph describes the contents of the article, the article

   speaks for itself and Hoft denies the Plaintiff’s characterization of it. To the extent that the Plaintiff

   alleges a specific implied meaning in the article, this is denied by Hoft. Hoft lacks knowledge or

   information sufficient to form a belief about the truth of the remaining allegations in this paragraph

   sufficient to either admit or deny them. The remaining Undersigned Defendants lack knowledge

   or information sufficient to form a belief about the truth of the allegations in this paragraph

   sufficient to either admit or deny them.

           68.     Hoft admits that he believes most people understand the clear meaning of his words.

   Hoft denies that all of his statements are intended to be interpreted as statements of fact. The

   remaining Undersigned Defendants lack knowledge or information sufficient to form a belief

   about the truth of the allegations in this paragraph sufficient to either admit or deny them.

           69.     The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

           70.     Denied by Hoft. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

           71.     Hoft denies making any malicious statement and has already denied the

   implications attributed to his writing. Hoft denies that he claimed that the Plaintiff participated in



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   a secret operation to stage riots and a violent attack and commit murder. Hoft lacks knowledge or

   information sufficient to form a belief about the truth of the remaining allegations in this paragraph

   sufficient to either admit or deny them. The remaining Undersigned Defendants lack knowledge

   or information sufficient to form a belief about the truth of the allegations in this paragraph

   sufficient to either admit or deny them.

          72.     Denied by Hoft. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          73.     Admitted by Hoft. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          74.     Hoft admits he did not engage in an independent fact-checker. Hoft denies the

   remaining allegations in this paragraph. The remaining Undersigned Defendants lack knowledge

   or information sufficient to form a belief about the truth of the allegations in this paragraph

   sufficient to either admit or deny them.

          75.     Denied by Hoft. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          76.     Admitted by Hoft. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.




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          77.     Denied by Hoft. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          78.     Denied by Hoft. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          79.     Hoft admits that he attributed the car attack to James Fields. Hoft denies the

   remainder of this paragraph.       The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          80.     Denied by Hoft. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          81.     Denied by Hoft. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          82.     Denied by Hoft. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          83.     The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          84.     The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.



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          85.     The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          86.     The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          87.     The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          88.     The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          89.     The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          90.     The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          91.     The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          92.     The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          93.     The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          94.     The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          95.     The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.




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          96.     The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          97.     The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          98.     The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          99.     The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          100.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          101.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          102.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          103.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          104.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          105.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          106.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.




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          107.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          108.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          109.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          110.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          111.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          112.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          113.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          114.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          115.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          116.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          117.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.




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          118.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          119.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          120.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          121.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          122.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          123.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          124.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          125.    Denied by the WNI Defendants. Specifically, no such article was published by

   Defendants West, Hickford, WNI and Wilburn. The remaining Undersigned Defendants lack

   knowledge or information sufficient to form a belief about the truth of the allegations in this

   paragraph sufficient to either admit or deny them.

          126.    This paragraph concerns an alleged article referenced in paragraph 125 of the FAC

   as being published by Defendants West, Hickford, WNI and Wilburn; that article does not exist.

   Because of this fundamental error, this entire paragraph is denied by the WNI Defendants. The

   WNI Defendants lack knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them. The remaining



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   Undersigned Defendants lack knowledge or information sufficient to form a belief about the truth

   of the allegations in this paragraph sufficient to either admit or deny them.

          127.    This paragraph concerns an alleged article referenced in paragraph 125 of the FAC

   as being published by Defendants West, Hickford, WNI and Wilburn; that article does not exist.

   Because of this fundamental error, this entire paragraph is denied by the WNI Defendants. The

   remaining Undersigned Defendants lack knowledge or information sufficient to form a belief

   about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          128.    This paragraph concerns an alleged article referenced in paragraph 125 of the FAC

   as being published by Defendants West, Hickford, WNI and Wilburn; that article does not exist.

   Because of this fundamental error, this entire paragraph is denied by the WNI Defendants. The

   remaining Undersigned Defendants lack knowledge or information sufficient to form a belief

   about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          129.    This paragraph concerns an alleged article referenced in paragraph 125 of the FAC

   as being published by Defendants West, Hickford, WNI and Wilburn; that article does not exist.

   Because of this fundamental error, this entire paragraph is denied by the WNI Defendants. The

   remaining Undersigned Defendants lack knowledge or information sufficient to form a belief

   about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          130.    This paragraph concerns an alleged article referenced in paragraph 125 of the FAC

   as being published by Defendants West, Hickford, WNI and Wilburn; that article does not exist.

   Because of this fundamental error, this entire paragraph is denied by the WNI Defendants. The

   remaining Undersigned Defendants lack knowledge or information sufficient to form a belief

   about the truth of the allegations in this paragraph sufficient to either admit or deny them.




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          131.    This paragraph concerns an alleged article referenced in paragraph 125 of the FAC

   as being published by Defendants West, Hickford, WNI and Wilburn; that article does not exist.

   Because of this fundamental error, this entire paragraph is denied by the WNI Defendants. The

   remaining Undersigned Defendants lack knowledge or information sufficient to form a belief

   about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          132.    This paragraph concerns an alleged article referenced in paragraph 125 of the FAC

   as being published by Defendants West, Hickford, WNI and Wilburn; that article does not exist.

   Because of this fundamental error, this entire paragraph is denied by the WNI Defendants. The

   remaining Undersigned Defendants lack knowledge or information sufficient to form a belief

   about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          133.    This paragraph concerns an alleged article referenced in paragraph 125 of the FAC

   as being published by Defendants West, Hickford, WNI and Wilburn; that article does not exist.

   Because of this fundamental error, this entire paragraph is denied by the WNI Defendants. The

   remaining Undersigned Defendants lack knowledge or information sufficient to form a belief

   about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          134.    This paragraph concerns an alleged article referenced in paragraph 125 of the FAC

   as being published by Defendants West, Hickford, WNI and Wilburn; that article does not exist.

   Because of this fundamental error, this entire paragraph is denied by the WNI Defendants. The

   remaining Undersigned Defendants lack knowledge or information sufficient to form a belief

   about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          135.    This paragraph concerns an alleged article referenced in paragraph 125 of the FAC

   as being published by Defendants West, Hickford, WNI and Wilburn; that article does not exist.

   Because of this fundamental error, this entire paragraph is denied by the WNI Defendants. The



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   remaining Undersigned Defendants lack knowledge or information sufficient to form a belief

   about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          136.    This paragraph concerns an alleged article referenced in paragraph 125 of the FAC

   as being published by Defendants West, Hickford, WNI and Wilburn; that article does not exist.

   Because of this fundamental error, this entire paragraph is denied by the WNI Defendants. The

   remaining Undersigned Defendants lack knowledge or information sufficient to form a belief

   about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          137.    This paragraph concerns an alleged article referenced in paragraph 125 of the FAC

   as being published by Defendants West, Hickford, WNI and Wilburn; that article does not exist.

   Because of this fundamental error, this entire paragraph is denied by the WNI Defendants. The

   remaining Undersigned Defendants lack knowledge or information sufficient to form a belief

   about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          138.    This paragraph concerns an alleged article referenced in paragraph 125 of the FAC

   as being published by Defendants West, Hickford, WNI and Wilburn; that article does not exist.

   Because of this fundamental error, this entire paragraph is denied by the WNI Defendants. The

   remaining Undersigned Defendants lack knowledge or information sufficient to form a belief

   about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          139.    This paragraph concerns an alleged article referenced in paragraph 125 of the FAC

   as being published by Defendants West, Hickford, WNI and Wilburn; that article does not exist.

   Because of this fundamental error, this entire paragraph is denied by the WNI Defendants. The

   remaining Undersigned Defendants lack knowledge or information sufficient to form a belief

   about the truth of the allegations in this paragraph sufficient to either admit or deny them.




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          140.    Denied by the WNI Defendants. The remaining Undersigned Defendants lack

   knowledge or information sufficient to form a belief about the truth of the allegations in this

   paragraph sufficient to either admit or deny them.

          141.    Denied by Wilburn. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          142.    Wilburn denies that he would refuse to admit a white supremacist carried out the

   car attack. WNI and Hickford lack knowledge or information sufficient to form a belief about the

   truth about a co-defendant’s state of mind sufficient to either admit or deny any allegations about

   it. Further, this paragraph refers to an article referenced in paragraph 125 of the FAC as being

   published by Defendants West, Hickford, WNI and Wilburn that does not exist. Because of this

   fundamental error, the remainder of paragraph is denied by the WNI Defendants. The remaining

   Undersigned Defendants lack knowledge or information sufficient to form a belief about the truth

   of the allegations in this paragraph sufficient to either admit or deny them.

          143.    This paragraph concerns an alleged article referenced in paragraph 125 of the FAC

   as being published by Defendants West, Hickford, WNI and Wilburn; that article does not exist.

   Because of this fundamental error, this entire paragraph is denied by the WNI Defendants. The

   remaining Undersigned Defendants lack knowledge or information sufficient to form a belief

   about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          144.    This paragraph concerns an alleged article referenced in paragraph 125 of the FAC

   as being published by Defendants West, Hickford, WNI and Wilburn; that article does not exist.

   Because of this fundamental error, this entire paragraph is denied by the WNI Defendants. The




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   remaining Undersigned Defendants lack knowledge or information sufficient to form a belief

   about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          145.    The Undersigned Defendants deny the following statement: “Their paranoid

   fantasies have no basis whatsoever in fact and are demonstrably false[.]” The Undersigned

   Defendants lack knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          146.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          147.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          148.    Denied.

          149.    Denied.

          150.    The Undersigned Defendants deny that they are the legal cause of any misconduct

   by any third party. This denial applies every time the allegation is repeated. The Undersigned

   Defendants deny the remaining allegations in this paragraph.

          151.    Creighton admits he published an article and video about the Plaintiff on August 23,

   2017. Creighton lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them. The remaining

   Undersigned Defendants lack knowledge or information sufficient to form a belief about the truth

   of the allegations in this paragraph sufficient to either admit or deny them.

          152.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.




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          153.     The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          154.     The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          155.     The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          156.     Denied.

          157.     The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          158.     The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          159.     The Undersigned Defendants deny that any defamation, let alone a defamatory

   campaign, occurred. The Undersigned Defendants lack knowledge or information sufficient to

   form a belief about the truth of the remaining allegations in this paragraph sufficient to either admit

   or deny them.

          160.     The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          161.     The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          162.     The Undersigned Defendants deny that they have lied about the Plaintiff. The

   Undersigned Defendants lack knowledge or information sufficient to form a belief about the truth

   of the allegations in this paragraph sufficient to either admit or deny them.




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          163.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          164.    Denied.

          165.    The Undersigned Defendants understand these allegations to be solely against

   Jones and InfoWars, and therefore, the Undersigned Defendants lack knowledge or information

   sufficient to form a belief about the truth of the allegations in this paragraph sufficient to either

   admit or deny them.

          166.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          167.    Denied by Creighton. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          168.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          169.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          170.    Creighton denies any allegations in this paragraph related to any statements he

   made. Creighton lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them. The remaining

   Undersigned Defendants lack knowledge or information sufficient to form a belief about the truth

   of the allegations in this paragraph sufficient to either admit or deny them.

          171.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.



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          172.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          173.    The allegation that Hoft has spread conspiracy theories about the Marjory

   Stoneman Douglas is false, while he lacks knowledge or information sufficient to form a belief

   about the truth of the allegation with respect to Jones or InfoWars sufficient to either admit or deny

   them; the remaining Undersigned Defendants also lack knowledge or information sufficient to

   form a belief about the truth of the allegation against Hoft, InfoWars or Jones sufficient to either

   admit or deny them. The remaining allegations in this paragraph are denied.

          174.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          175.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          176.    Hoft denies ever committing incitement.          Hoft admits that in an article he

   misidentified a reporter—relying in part on another’s reporting—and promptly corrected his error.

   Hoft lacks knowledge or information sufficient to form a belief about the truth of the remaining

   allegations in this paragraph sufficient to either admit or deny them. The Undersigned Defendants

   lack knowledge or information sufficient to form a belief about the truth of the allegations in this

   paragraph sufficient to either admit or deny them.

          177.    Denied.

          178.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          179.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.



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           180.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegation that the Plaintiff “lives in constant, ongoing fear of vile

   online and in-person harassment of himself and his family” sufficient to either admit or deny this

   allegation. The remaining allegations in this paragraph are denied.

           181.    The term “ongoing distress” is unclear because it is uncertain whether the FAC

   refers to distress allegedly caused by the Undersigned Defendants or third parties not named as

   defendants. Accordingly, the Undersigned Defendants lack knowledge or information sufficient

   to form a belief about the truth of all of the allegations in this paragraph sufficient to either admit

   or deny them.

           182.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegation that the Plaintiff’s “physical condition makes it difficult and

   sometimes impossible for him to work and conduct regular, daily activities” sufficient to either

   admit or deny this allegation. The remaining allegations in this paragraph are denied.

           183.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegation that the Plaintiff’s “depressive symptoms, including

   irritability, difficulty concentrating, and loss of sleep, have significantly impaired his ability to

   perform work responsibilities and attend social events” sufficient to either admit or deny this

   allegation. The remaining allegations in this paragraph are denied.

           184.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegation that the Plaintiff “now limits his social engagements or going

   out in public, as he fears engaging with people who he does not already know and trust, and

   engages less on social media” sufficient to either admit or deny this allegation. The remaining

   allegations in this paragraph are denied.



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           185.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegation that “[a]t least one potential romantic partner cut off contact

   with Mr. Gilmore because of Defendants’ statements” sufficient to either admit or deny this

   allegation. The remaining allegations in this paragraph are denied.

           186.    Denied.

           187.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them,

   except they deny making any false statements about the Plaintiff.

           188.    Denied.

           189.    Denied.

           190.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

           191.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

           192.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

           193.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

           194.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

           195.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.




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          196.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          197.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          198.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          199.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          200.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          201.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          202.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          203.    Denied.

          204.    No response is necessary to this paragraph.

          205.    Denied.

          206.    Denied.

          207.    Denied.

          208.    Denied.

          209.    Denied.

          210.    Denied.

          211.    Denied.



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          212.    Denied.

          213.    Denied.

          214.    Denied.

          215.    Denied.

          216.    No response is necessary to this paragraph.

          217.    Denied by Creighton. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          218.    Creighton admits that his site contained the description “Neoliberal News of the

   Day.” Creighton denies the remaining allegations in this paragraph. The remaining Undersigned

   Defendants lack knowledge or information sufficient to form a belief about the truth of the

   allegations in this paragraph sufficient to either admit or deny them.

          219.    Denied by Creighton. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          220.    Denied by Creighton. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          221.    Denied by Creighton. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.




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          222.    Denied by Creighton. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          223.    Denied by Creighton. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          224.    Denied by Creighton. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          225.    No response is necessary to this paragraph.

          226.    Denied by Creighton. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          227.    Denied by Creighton. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          228.    Denied by Creighton. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          229.    Denied by Creighton. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.




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          230.    Denied by Creighton. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          231.    Denied by Creighton. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          232.    Denied by Creighton. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          233.    No response is necessary to this paragraph.

          234.    Denied by Hoft. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          235.    Denied by Hoft. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          236.    Denied by Hoft. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          237.    Denied by Hoft. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.




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          238.    Denied by Hoft. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          239.    Denied by Hoft. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          240.    Denied by Hoft. The remaining Undersigned Defendants lack knowledge or

   information sufficient to form a belief about the truth of the allegations in this paragraph sufficient

   to either admit or deny them.

          241.    No response is necessary to this paragraph.

          242.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          243.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          244.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          245.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          246.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          247.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.




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          248.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          249.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          250.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          251.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          252.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          253.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          254.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          255.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          256.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          257.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          258.    No response is necessary to this paragraph.

          259.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.



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          260.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          261.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          262.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          263.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          264.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          265.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          266.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          267.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          268.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          269.    The Undersigned Defendants lack knowledge or information sufficient to form a

   belief about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          270.    No response is necessary to this paragraph.




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          271.    Denied by WNI Defendants.         The remaining Undersigned Defendants lack

   knowledge or information sufficient to form a belief about the truth of the allegations in this

   paragraph sufficient to either admit or deny them.

          272.    Denied by WNI Defendants.         The remaining Undersigned Defendants lack

   knowledge or information sufficient to form a belief about the truth of the allegations in this

   paragraph sufficient to either admit or deny them.

          273.    Denied by WNI Defendants.         The remaining Undersigned Defendants lack

   knowledge or information sufficient to form a belief about the truth of the allegations in this

   paragraph sufficient to either admit or deny them.

          274.    Denied by WNI Defendants.         The remaining Undersigned Defendants lack

   knowledge or information sufficient to form a belief about the truth of the allegations in this

   paragraph sufficient to either admit or deny them.

          275.    Denied by WNI Defendants.         The remaining Undersigned Defendants lack

   knowledge or information sufficient to form a belief about the truth of the allegations in this

   paragraph sufficient to either admit or deny them.

          276.    Denied by WNI Defendants.         The remaining Undersigned Defendants lack

   knowledge or information sufficient to form a belief about the truth of the allegations in this

   paragraph sufficient to either admit or deny them.

          277.    Denied by WNI Defendants.         The remaining Undersigned Defendants lack

   knowledge or information sufficient to form a belief about the truth of the allegations in this

   paragraph sufficient to either admit or deny them.




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          278.    Denied by WNI Defendants.          The remaining Undersigned Defendants lack

   knowledge or information sufficient to form a belief about the truth of the allegations in this

   paragraph sufficient to either admit or deny them.

          279.    Denied by WNI Defendants.          The remaining Undersigned Defendants lack

   knowledge or information sufficient to form a belief about the truth of the allegations in this

   paragraph sufficient to either admit or deny them.

          280.    Denied by WNI Defendants.          The remaining Undersigned Defendants lack

   knowledge or information sufficient to form a belief about the truth of the allegations in this

   paragraph sufficient to either admit or deny them.

          281.    Denied by WNI Defendants.          The remaining Undersigned Defendants lack

   knowledge or information sufficient to form a belief about the truth of the allegations in this

   paragraph sufficient to either admit or deny them.

          282.    Denied by WNI Defendants.          The remaining Undersigned Defendants lack

   knowledge or information sufficient to form a belief about the truth of the allegations in this

   paragraph sufficient to either admit or deny them.



          No further responses are necessary because the remainder of the FAC either 1) relate to the

   count for intentional infliction of emotional distress, which was dismissed, or 2) relate to a prayer

   for relief that requires no response.



                                     AFFIRMATIVE DEFENSES

          The statement of any defense contained herein does not assume the burden of proof for any

   issue for which the applicable law places the burden on Plaintiff.



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           1.     The FAC fails to state a cause of action upon which relief may be granted.

           2.     The statements at issue are not of and concerning Plaintiff.

           3.     The statements at issue are immune from liability under the fair reporting privilege.

           4.     The statements at issue are not capable of defamatory meaning.

           5.     The statements at issue are not defamatory per se.

           6.     Plaintiff is a public official, or alternatively a public figure or a limited-purpose

   public figure for purposes of the statements alleged, and Plaintiff cannot establish by clear and

   convincing evidence that the Free Speech Defendants acted with actual malice.

           7.     The statements at issue were about matters of public concern.

           8.     The statements at issue are privileged because the subject matter was of public

   concern and affected a substantial interest of the public.

           9.     The statements at issue constitute opinion or fair comment and are non-actionable.

           10.    Plaintiff as a public figure has assumed the risk of being subject to the statements

   at issue.

           11.    Plaintiff consented to the publications by voluntarily injecting himself into a public

   controversy, through his use of social media, and by making statements on national television.

           12.    Plaintiff has failed to mitigate any damages he has incurred.

           13.    Plaintiff is barred from recovery for damages caused by the acts of others.

           14.    The Complaint fails to state a cause of action for punitive damages.

           15.    An award of punitive damages would violate the First Amendment of the United

   States Constitution.

           16.    The Undersigned Defendants are entitled to dismissal and a cost and fee award

   under Virginia’s anti-SLAPP statute, Va. Code § 8.01-223.2.



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           17.     This Court lacks subject matter jurisdiction because the parties are not truly diverse

   and there is an insufficient amount in controversy.

           18.     This Court lacks personal jurisdiction over the Undersigned Defendants because

   the parties cannot be reached by the Virginia Long-Arm Statute, and, even if they could, it would

   violate due process to assert jurisdiction over them.

           19.     The statements at issue are true or substantially true and do not have any false

   implications.

           20.     The statements at issue are protected opinion.

           21.     The First Amendment protects the statements that were made, as do comparable

   portions of the Virginia Constitution, e.g. VA CONST. Art. I, §§ 2 and 12.

           22.     The Undersigned Defendants are not the legal cause of any damages alleged by the

   Plaintiff.

           23.     Other parties are responsible for any allegedly tortious conduct alleged in this suit.

           24.     Defendants Hickford, Hoft and Wilburn were acting as corporate agents.

           25.     Comparative fault of third parties.

           26.     Failure to join a party under Rule 19.

           27.     Wrong party or persons sued.




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   Friday, April 26, 2019                         Respectfully submitted,


                                                    s/ Aaron J. Walker
                                                  Aaron J. Walker, Esq.
                                                  Attorney for Defendants Hoft, Creighton, Wilburn,
                                                          Hickford and Words-N-Ideas, LLC
                                                  Va Bar# 48882
                                                  7537 Remington Road
                                                  Manassas, Virginia 20109
                                                  (703) 216-0455
                                                  AaronJW72@gmail.com



                                     CERTIFICATE OF SERVICE

           I hereby certify that I electronically filed the foregoing with the Clerk of the Court for the
   United States District Court for the Western District of Virginia on April 26, 2019. Participants in
   the case who are registered for electronic filing will be served automatically.



                                                    s/ Aaron J. Walker




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